Case 2:17-cv-03819-DGC   Document 32-8   Filed 03/02/18   Page 1 of 25


     THE BENDAU LAW FIRM, PLLC




                     Exhibit H
     Case 2:17-cv-03819-DGC        Document 32-8        Filed 03/02/18   Page 2 of 25



      Clifford P. Bendau, II (AZ Bar #030204)
 1    Christopher J. Bendau (AZ Bar #032981)
      THE BENDAU LAW FIRM PLLC
 2    P.O. Box 97066
      Phoenix, Arizona 85060
 3    Telephone: (480) 382-5176
      Facsimile: (480) 304-3805
 4    Email: cliffordbendau@bendaulaw.com
             chris@bendaulaw.com
 5    Attorneys for Plaintiff
 6
                              UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF ARIZONA
 8
 9     Ashley Thompson,                             No. 2:17-CV-03819
10                           Plaintiff,
                                                    STATEMENT OF CONSULTATION
11     vs.
                                                    (Assigned to the Honorable David G.
12     Arizona Movers and Storage, Inc., et al.     Campbell)
13                           Defendants.
14
15           Per Local Rule LRCiv 54.2(b)(2), Plaintiff Ashley Thompson (“Plaintiff”), by

16    and through undersigned counsel (“Mr. Bendau), has attempted to consult with
17
      Defendants’ counsel (“Ms. Jo”) on a good faith basis regarding Plaintiff’s request for
18
      attorneys’ fees and costs.
19
20           On February 6, 2018, Mr. Bendau sent an email to Ms. Jo, offering to settle the

21    attorneys’ fees issue for $6,000 in attorneys’ fees. (See email from Clifford P. Bendau,
22
      II to Kelly Jo, and subsequent email responses, attached as “Attachment 1”). Plaintiff
23
      left that settlement offer open for one week, until February 13, 2018. See id.
24
25           On February 6, 2018, Ms. Jo responded stating that she did not believe Defendant

26    would increase his original offer of $2,000.00 until Plaintiff’s counsel produced their
27
28
                                                  -1-
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30
     Case 2:17-cv-03819-DGC        Document 32-8          Filed 03/02/18   Page 3 of 25




      unredacted billing records. Id. Mr. Bendau again reached out to Ms. Jo on February 13,
 1
 2    2018, seeking a response to the demand for attorneys’ fees. Ms. Jo stated that her client
 3    had not yet responded to her, and requested Mr. Bendau’s unredacted billing records.
 4
      Id. Mr. Bendau declined to provide the records. On February 15, 2018, Ms. Jo provided
 5
      a response from her client, stating that he would only offer $2,500.00 to resolve the
 6
 7    attorneys’ fees issue unless Mr. Bendau provided Ms. Jo with his unredacted billing
 8    records. Upon receipt of the Defendants’ counter offer, Mr. Bendau produced the
 9
      unredacted billing records to Ms. Jo, and again asserted Plaintiff’s offer to settle the
10
      attorneys’ fees issue for $6,000.00, conditioned upon receipt of payment within one
11
12    week by February 22, 2018. Id.

13           Despite Mr. Bendau providing the unredacted billing records and willingness to
14
      continue the dialogue on the attorneys’ fees issue beyond the February 22, 2018
15
      deadline, Defendants have not responded to Mr. Bendau’s offer. Ms. Jo never
16
17    communicated any counteroffer from the Defendants. As such, Mr. Bendau and Ms. Jo,

18    after personal consultation and good faith efforts, were unable to satisfactorily resolve
19
      all disputed issues relating to attorneys’ fees.
20
21           RESPECTFULLY SUBMITTED this 2nd Day of March, 2018.
22                                                THE BENDAU LAW FIRM, PLLC
23
                                                  /s/    Clifford P. Bendau, II
24                                                Clifford P. Bendau, II
                                                  Attorney for Plaintiff
25
26
27
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30
     Case 2:17-cv-03819-DGC        Document 32-8         Filed 03/02/18   Page 4 of 25




 1
                                         Certificate of Service
 2
             I certify that on this 2nd day of March 2018, I electronically transmitted the attached
 3
 4    document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
 5    Notice of Electronic Filing to the all parties by operation of the Court’s electronic filing
 6
      system. The Parties may access this filing through the Court system.
 7
 8
 9    /s/Christopher J. Bendau
10
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Case 2:17-cv-03819-DGC   Document 32-8   Filed 03/02/18   Page 5 of 25


     THE BENDAU LAW FIRM, PLLC




                Attachment 1
                     Case 2:17-cv-03819-DGC
Gmail - Thompson v. Arizona Movers and Storage Inc.         Document 32-8            Filed 03/02/18         Page 6 of 25              3/1/18, 10(28 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 Thompson v. Arizona Movers and Storage Inc.
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                                                Tue, Feb 6, 2018 at 2:48 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Chris Bendau <chris@bendaulaw.com>

    Kelly,

    Now that Judge Campbell has approved the settlement agreement and set a deadline for filing the attorneys' fees
    application, I wanted to reach out and discuss settlement of the attorneys' fees issue.

    Prior to the parties' engaging in the limited litigation they did, we had demanded our client's full damages liquidated 3x,
    plus all costs, plus $9,000 in fees incurred and to-be-incurred. You presented a counter of our client's full damages
    liquidated 3x, plus costs. As part of that counter, your client offered either $2,000 in fees or for the parties to brief a
    fees application. We immediately accepted your offer of damages-and-costs plus a fees application.

    During our finalization of the settlement agreement and motion for approval, you had asked for a counter to the fees
    offer of $2,000, which I promised to provide upon settlement approval.

    At this point, our lodestar has exceeded $10,000 and is rapidly approaching $12,000. That lodestar is only going to
    increase (likely upwards of $15,000) if we are forced to draft and file the fees application. Considering the stage of the
    case, and the damages involved, however, we recognize that the Court is not necessarily going to award our full
    request for $15,000 in fees without at least undertaking a serious effort to resolve the issue first. That is what we
    would prefer to do.

    Therefore, we offer to settle the fees issue for $6,000. This offer is open until the close of business February 13,
    2018, at which time we will need to begin drafting the application. Please note that, if forced to draft and file the fees
    application, the FLSA and supporting case law authorize an award of fees for that time, too.

    Please discuss this offer with your client and get back to us at your earliest convenience. Thank you.

    Regards,
    Cliff


    --
    BENDAU LAW:

    The Bendau Law Firm, PLLC
    Clifford P. Bendau, II
    Licensed in state & federal courts
    in Arizona, Ohio, and Colorado
    P.O. Box 97066
    Phoenix, AZ 85060
    www.bendaulaw.com
    www.facebook.com/BendauLaw
    www.twitter.com/BendauLaw
    cliffordbendau@bendaulaw.com
    Phone: (480) 382-5176
    Fax: (480) 304-3805
    Cleveland: (216) 395-4226

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                      Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18          Page 7 of 25             3/1/18, 10(29 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                           Tue, Feb 6, 2018 at 6:06 PM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Henson <a.henson@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    I will pass along your demand to my clients. I don’t think they will budge from their original offer of $2,000
    until you produce an unredacted copy of the billing.



    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

    k.jo@cantorinjurylawyers.com
    602-254-2701 phone

    602-374-2751 fax



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                      Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees             Filed 03/02/18         Page 8 of 25              3/1/18, 10(29 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                        Tue, Feb 6, 2018 at 6:54 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Henson
 <a.henson@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Thanks Kelly–we look forward to receiving your clients' response.

    Cliff
    [Quoted text hidden]




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                      Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18          Page 9 of 25          3/1/18, 10(30 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                      Tue, Feb 13, 2018 at 12:10 PM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Kelly Jo <k.jo@cantorinjurylawyers.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Henson
 <a.henson@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Good afternoon Kelly,

    We haven't heard back from you regarding our settlement offer on the fees issue. Does your client have a response?

    Thanks,
    Cliff
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 10 of 25              3/1/18, 10(31 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                         Tue, Feb 13, 2018 at 12:11 PM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Henson <a.henson@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    I called him and sent a follow up email this morning. Can you provide us an unredacted version of your billing,
    please?



    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

    k.jo@cantorinjurylawyers.com
    602-254-2701 phone

    602-374-2751 fax



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18         Page 11 of 25              3/1/18, 10(31 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                       Tue, Feb 13, 2018 at 1:02 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Henson
 <a.henson@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Kelly,

    We appreciate your concern regarding the unredacted version, but in giving you redacted records, we have already
    given your clients insight into matters to which they are not otherwise entitled.

    In other words, these records are sensitive, privileged, and confidential. We sent you the redacted version in a good
    faith effort to be sensitive to your clients' desire to ensure the legitimacy of our demand against protecting
    confidentiality and attorney-client privilege. If your clients want the unredacted records, then they will receive them in
    the briefing of a fees application.

    Of course, since sending those redacted records, our billings have increased substantially. Nonetheless, we have
    taken more than a fair haircut on our fees in order to get this issue resolved. We would prefer not to make the court
    resolve the issue, but if that is an impossibility without the unredacted records, then that is what will have to happen.

    Thanks,
    Cliff
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18          Page 12 of 25             3/1/18, 10(42 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                          Tue, Feb 13, 2018 at 1:10 PM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Henson <a.henson@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    You will not be able to obtain an award of attorneys’ fees from the court with redacted records. The case is
    settled, the only issue is the attorneys’ fees, so there is no reason to withhold the records, now, especially since
    they will eventually be produced. I don’t understand why you are concerned about the private production of
    records that are “sensitive, privileged and confidential,” but it is okay to file them as public documents in motion
    for attorneys’ fees.



    The redacted version was not sent in “good faith.” It contained no information regarding the activities for which
    you are claiming attorneys’ fees. Any additional “substantial billing” arises in large part from your
    unwillingness to provide records you will otherwise be required to provide.



    As soon as I hear back from my client regarding the attorneys’ fees counteroffer, I will let you know.



    KJ


    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18          Page 13 of 25          3/1/18, 10(44 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                       Tue, Feb 13, 2018 at 1:25 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Henson
 <a.henson@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Kelly,

    You are welcome to disagree with the appropriateness of the amount and extent of our billing. The proper forum for
    that disagreement is the briefing of an attorneys' fees application. Please provide any authority you have that requires
    us to divulge the content of our billing records prior to filing a fees application along with your clients' timely response
    to our offer.

    Thanks,
    Cliff
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18          Page 14 of 25          3/1/18, 10(45 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                      Wed, Feb 14, 2018 at 11:21 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Kelly Jo <k.jo@cantorinjurylawyers.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Henson
 <a.henson@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Good morning Kelly,

    Does your client have a response to our demand? Thanks.

    Cliff
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 15 of 25              3/1/18, 10(45 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                          Wed, Feb 14, 2018 at 11:55 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich <a.gramlich@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    Not yet, as soon as I get a response I will let you know.


    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

    k.jo@cantorinjurylawyers.com
    602-254-2701 phone

    602-374-2751 fax



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18         Page 16 of 25              3/1/18, 10(46 AM




                                                                                          Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                        Wed, Feb 14, 2018 at 2:34 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Thank you, Kelly. Please express to your clients the sense of urgency given our timeframe for filing the motion.

    Cliff
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 17 of 25              3/1/18, 10(47 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                            Thu, Feb 15, 2018 at 9:07 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich <a.gramlich@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    Due to your refusal to provide us with any detail regarding the attorneys’ fees, my client is only willing to offer
    $2,500. Unless you produce the unredacted billing, you will have to file your motion for attorneys’ fees if you
    want more than $2,500. And then you can explain to the Court why you are forcing the defendant to engage in
    unnecessary motion practice, and why you should not have your fees discounted by the amount of the attorneys’
    fees incurred by the defendant because you refused to disclose the facts prior to filing the motion.



    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

    k.jo@cantorinjurylawyers.com
    602-254-2701 phone

    602-374-2751 fax



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 18 of 25              3/1/18, 10(51 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                       Thu, Feb 15, 2018 at 10:39 AM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Kelly,

    After considering the issue with Chris, we have decided that we will send you the unredacted lodestar records,
    through and including today. I have attached those records to this email.

    We offer to settle the attorneys' fees issue for $6,000, in the form of a cashier's check payable to The Bendau Law
    Firm PLLC, to be delivered to us no later than the close of business one week from today, Thursday, February 22,
    2018.

    As stated previously, we would prefer to resolve this issue without filing the motion. Please discuss with your client
    and provide a response at your earliest convenience. Thanks.

    Best,
    Cliff
    [Quoted text hidden]


          THOMPSON; UNREDACTED LODESTAR TO K. JO; 2-15-18.pdf
          257K




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18          Page 19 of 25            3/1/18, 10(51 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                           Thu, Feb 15, 2018 at 11:58 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich <a.gramlich@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    I will review, talk to my client, and get back to you.


    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



    www.cantorinjurylawyers.com

    k.jo@cantorinjurylawyers.com
    602-254-2701 phone

    602-374-2751 fax



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18          Page 20 of 25             3/1/18, 10(55 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                       Thu, Feb 15, 2018 at 12:05 PM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Thank you, Kelly.
    [Quoted text hidden]




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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees           Filed 03/02/18         Page 21 of 25             3/1/18, 10(57 AM




                                                                                          Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                        Tue, Feb 20, 2018 at 8:33 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Kelly Jo <k.jo@cantorinjurylawyers.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Good morning Kelly,

    Does your client have a response to our demand? Thanks.

    Cliff

    On Thu, Feb 15, 2018 at 12:05 PM, Clifford Bendau <cliffordbendau@bendaulaw.com> wrote:
     Thank you, Kelly.

       On Thu, Feb 15, 2018 at 11:58 AM, Kelly Jo <k.jo@cantorinjurylawyers.com> wrote:

            Cliff,



            I will review, talk to my client, and get back to you.



            KJ



            Kelly Jo
            Attorney at Law




            1 E Washington Street
            Suite 1800
            Phoenix, AZ 85004



            www.cantorinjurylawyers.com

            k.jo@cantorinjurylawyers.com
            602-254-2701 phone


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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 22 of 25             3/1/18, 10(58 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                            Tue, Feb 20, 2018 at 9:26 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich <a.gramlich@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    I am working on it. I talked with him on Friday, but I need authorization to respond.


    KJ



    Kelly Jo
    Attorney at Law




    1 E Washington Street
    Suite 1800
    Phoenix, AZ 85004



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 23 of 25            3/1/18, 11'00 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                       Tue, Feb 20, 2018 at 11:31 AM
 To: Kelly Jo <k.jo@cantorinjurylawyers.com>
 Cc: Clifford Bendau <cliffordbendau@bendaulaw.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Thank you Kelly–we will look forward to your response.

    On Tue, Feb 20, 2018 at 9:26 AM, Kelly Jo <k.jo@cantorinjurylawyers.com> wrote:

       Cliff,


       I am working on it. I talked with him on Friday, but I need authorization to respond.



       KJ



       Kelly Jo
       Attorney at Law




       1 E Washington Street
       Suite 1800
       Phoenix, AZ 85004



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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18         Page 24 of 25             3/1/18, 11'01 AM




                                                                                           Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Clifford Bendau <cliffordbendau@bendaulaw.com>                                        Fri, Feb 23, 2018 at 11:51 AM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Kelly Jo <k.jo@cantorinjurylawyers.com>, Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich
 <a.gramlich@cantorinjurylawyers.com>, Monica Safford <m.safford@cantorinjurylawyers.com>

    Hi Kelly–I haven't heard back from you on this. Have you made any headway with your client? If we can't get this
    resolved, I am going to need to begin drafting the fees motion.

    Thanks,
    Cliff

    On Tue, Feb 20, 2018 at 11:31 AM, Clifford Bendau <cliffordbendau@bendaulaw.com> wrote:
     Thank you Kelly–we will look forward to your response.

       On Tue, Feb 20, 2018 at 9:26 AM, Kelly Jo <k.jo@cantorinjurylawyers.com> wrote:

          Cliff,



          I am working on it. I talked with him on Friday, but I need authorization to respond.



          KJ



          Kelly Jo
          Attorney at Law




          1 E Washington Street
          Suite 1800
          Phoenix, AZ 85004



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          k.jo@cantorinjurylawyers.com
          602-254-2701 phone


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                     Case 2:17-cv-03819-DGC                     Document 32-8
Gmail - RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees            Filed 03/02/18          Page 25 of 25           3/1/18, 11'01 AM




                                                                                            Chris Bendau <chris.bendau@gmail.com>



 RE: Thompson v. Arizona Movers and Storage Inc., attorneys' fees
 Kelly Jo <k.jo@cantorinjurylawyers.com>                                           Mon, Feb 26, 2018 at 5:51 PM
 To: Clifford Bendau <cliffordbendau@bendaulaw.com>
 Cc: Chris Bendau <chris@bendaulaw.com>, Amanda Gramlich <a.gramlich@cantorinjurylawyers.com>, Monica Safford
 <m.safford@cantorinjurylawyers.com>


    Cliff,



    Still no headway. I am still trying, and I understand your concerns.


    KJ



    Kelly Jo
    Attorney at Law




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    Phoenix, AZ 85004



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